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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 ANGELA M. JONES,                              §
     Plaintiff,                                §
                                               §
                                               §
 v.                                            §      Civil Action No. 3:19-CV-0880-N-BH
                                               §
 ANDREW SAUL, COMMISSIONER                     §
 OF SOCIAL SECURITY                            §
 ADMINISTRATION,                               §
      Defendant.                               §

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any objections

thereto, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion

that the Findings and Conclusions of the Magistrate Judge are correct and they are accepted as the

Findings and Conclusions of the Court.

       It is therefore ORDERED that the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge are adopted. Accordingly, the decision of the Commissioner is

AFFIRMED.

               SO ORDERED on this 25th day of September, 2020.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
